       Case 9:15-cr-00042-DLC Document 142 Filed 11/03/21 Page 1 of 5




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION


UNITED STATES OF AMERICA,                        Cause No. 15-42-M-DLC

             Plaintiff,

       vs.                                                ORDER

LOGAN RIVERS WENIGER,

             Defendant.


      Defendant Weniger moves the Court to reduce the sentence under 18 U.S.C.

§ 3582(c)(1)(A). He is currently serving a 210-month sentence for federal drug

and firearms offenses. See Judgment (Doc. 114). His projected release date is

October 17, 2030. See Inmate Locator, http://www.bop.gov/inmateloc (accessed

Nov. 1, 2021).

      On July 28, 2021, the Court appointed counsel to represent Weniger. See

Order (Doc. 127). Counsel filed a supplemental motion. The United States filed a

supplemental response and counsel a reply.

      After considering the sentencing factors in 18 U.S.C. § 3553(a), the Court

may reduce a sentence if “extraordinary and compelling reasons warrant such a

                                        1
        Case 9:15-cr-00042-DLC Document 142 Filed 11/03/21 Page 2 of 5



reduction.” 18 U.S.C. § 3582(c)(1)(A)(i). The statute provides that any sentence

reduction must be consistent with the “applicable” policy statement in the

Sentencing Guidelines. See 28 U.S.C. § 994(a)(2)(C), (t); U.S.S.G. § 1B1.13(3)

(Nov. 1, 2018). The guideline, however, has not been revised since Congress

amended § 3582(c)(1) to allow defendants, not just the Director of the Bureau of

Prisons, to move for sentence reductions. The Ninth Circuit holds that district

courts may take U.S.S.G. § 1B1.13 into account, but it is binding only when the

Director has filed the motion. See United States v. Aruda, 993 F.3d 797, 802 (9th

Cir. 2021) (per curiam); see also Bryant v. United States, No. 20-1732 (U.S. pet.

for cert. filed June 10, 2021).

      Pertinent factors under § 3553(a) include the “nature and circumstances of

the offense and the history and characteristics of the defendant,” the need for the

sentence “to reflect the seriousness of the offense, to promote respect for the law,

and to provide just punishment for the offense,” to deter criminal conduct and

protect the public, and to provide effective correctional treatment, including

education or vocational training and medical care. See 18 U.S.C. § 3553(a)(1), (2).

The Court may also consider the advisory guideline range and the need to “avoid

unwarranted sentencing disparities” among similarly situated defendants and

provide restitution to victims. See id. § 3553(a)(4), (6)–(7).

                                          2
        Case 9:15-cr-00042-DLC Document 142 Filed 11/03/21 Page 3 of 5



      A. Reason for Release

      Weniger, now 40 years old, asserts that his asthma, combined with the ease

of transmitting SARS-CoV-2 in a prison environment, constitutes an extraordinary

and compelling reason to reduce his sentence. He also contends that the restrictive

measures imposed by the Bureau of Prisons to contain transmission of the virus

exacerbate his anxiety and depression, creating another extraordinary and

compelling reason to release him.

      The global pandemic is extraordinary and compelling. Weniger must show

it is an extraordinary and compelling reason to release him. Moderate to severe

asthma increases a person’s risk of developing severe illness if he contracts

COVID-19. See Centers for Disease Control, People with Certain Medical

Conditions, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/people-with-medical-conditions.html (updated Oct. 14, 2021, and

accessed Nov. 2, 2021). Weniger has not shown that medical professionals

consider his acute asthma attacks to be moderate or severe. But even if they are so

categorized, he does not show that his asthma or the level of risk it adds to his

vulnerability as an inmate rises to the level of an extraordinary or compelling

reason to release him.

      Weniger also asserts that the very measures the Bureau of Prisons has

                                          3
        Case 9:15-cr-00042-DLC Document 142 Filed 11/03/21 Page 4 of 5



implemented to protect inmates constitute a reason to release him. Containment

measures likely have made inmates’ living conditions somewhat less like secure

facilities offering opportunities for vocational training, education, therapeutic

programs, and recreation, and somewhat more like solitary confinement. To that

extent, the argument has some merit. But, again, Weniger does not show that his

anxiety and depression are made so much worse by his current living conditions

that they can fairly be called an extraordinary and compelling reason to release

him. Nor does he demonstrate that releasing him is the only, or even the best,

means to address his anxiety and depression.

      B. Section 3553(a) Factors

      The Court appreciates Weniger’s mother’s letter on his behalf and the

relationship she describes between him and his father. See Letter (Doc. 136-1) at

19–20. Weniger’s sentence is lengthy. But the Court imposed the sentence it

found “sufficient, but not greater than necessary,” to achieve the objectives of

federal sentencing. See 18 U.S.C. § 3553(a). Several people identified Weniger as

a prominent supplier of methamphetamine in Missoula. Despite his prior federal

drug felony conviction, he possessed a number of firearms as well. And he earned

a two-point guideline enhancement for obstructing justice. See Statement of

Reasons (Doc. 115) at 1 § I(A); see also, e.g., Presentence Report ¶¶ 43, 46–48,

                                           4
        Case 9:15-cr-00042-DLC Document 142 Filed 11/03/21 Page 5 of 5



62–64, 67–69, 86. Even so, Weniger received a downward variance of more than

three years below the resulting advisory guideline range, from a range of 188 to

235 months to a sentence of 150 months on the drug count, followed by the

mandatory consecutive five-year term on the firearm count.

      C. Conclusion

      Weniger has not shown an extraordinary and compelling reason warranting

reassessment of the factors that led the Court to impose the sentence it did.


      Accordingly, IT IS ORDERED that Weniger’s motion for compassionate

release under 18 U.S.C. § 3582(c)(1)(A) (Docs. 123, 135) is DENIED.

      DATED this 3rd day of November, 2021.




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